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PS 42
(Rev 07/93)

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                                    United States District Court
                                           District of Nebraska                       !     .   I    -        I,,
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                                           District of Nebraska

 United States of America

               VS
 Michael Flowers
                                                                                            Case No. 8:07CR25


                       CONSENT TO MODIFY CONDITIONS OF RELEASE

I, Michael Flowers, have discussed with James M. Roberts, Pretrial Services Officer, modification
of my release as follows:

(7)(k) The defendant shall reside a the Veteran's Administration sanctioned three-quarter way
house located at 4201 Barker Avenue in Omaha, Nebraska 68105, Ph: 614-5682 at all times and
comply with the rules of such facility. In the event the defendant is discharged from the facility for
any reason whatsoever, or leaves the premises of the facility without authorization, the United States
Marshal, andlor any law enforcement officer is ordered to take the defendant into custody and detain
the defendant pending a prompt hearing before the Court to review the conditions of release.

I consent to this modification of my release conditions and agree to abide by this modification.



 Signature of Defendant                 Date          19(.Pretrial Services Officer                           Date



                    he conditions with my client and concur that this modification is appropriate.


                                                             y - 11-DI
                                                              Date



fi The above modification of conditions of release is ordered, to be effective o.n-
                    e modification of conditions of release is not ordered.



 Signature of Judicial Officer                                Date
